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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CONVERSE INC.,
                                                     Case No. 23-cv-05581
               Plaintiff,
                                                     Judge Andrea R. Wood
v.
                                                     Magistrate Judge Jeffrey Cole
NO 1 FASHION SHOES STORE, et al.,

               Defendants.



                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)


       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Converse Inc.,

(“Plaintiff” or “Converse”) hereby dismisses this action, with leave to reinstate within two hundred

and seventy (270) days as to the following Defendant:


               Defendant Name                                          Line No.
           roadrunner childrens shoes                                    128

Dated this 30th day of November 2023.                Respectfully submitted,

                                                     /s/ Marcella D. Slay
                                                     Amy C. Ziegler
                                                     Justin R. Gaudio
                                                     Marcella D. Slay
                                                     Berel Y. Lakovitsky
                                                     Greer, Burns & Crain, Ltd.
                                                     300 South Wacker Drive, Suite 2500
                                                     Chicago, Illinois 60606
                                                     312.360.0080 / 312.360.9315 (facsimile)
                                                     aziegler@gbc.law
                                                     jgaudio@gbc.law
                                                     mslay@gbc.law
                                                     blakovitsky@gbc.law

                                                     Counsel for Plaintiff Converse Inc.
